SO ORDERED.

DONE and SIGNED January 10, 2018.




                                             ________________________________________
                                             JEFFREY P. NORMAN
                                             UNITED STATES BANKRUPTCY JUDGE
          ____________________________________________________________




                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF LOUISIANA
                                 SHREVEPORT DIVISION

IN RE:                                        §
                                              §
Lillie Mae Banks                              §                     Case Number: 17-10456
                                              §
Debtor                                        §                     Chapter 7

            INTERIM ORDER ON UNITED STATES TRUSTEE’S MOTION TO
                DISGORGE FEES AND OTHER APPROPRIATE RELIEF

         This matter is before the Court on the United States Trustee’s Motion to Disgorge Fees and

Other Appropriate Relief (ECF No. 16). The Court held a hearing on this matter on January 9,

2018. The Court intends to enter a final order with findings of fact and conclusions of law.

However, after considering the evidence presented, the Court believes it is appropriate to enter an

order granting immediate interim relief.

         ACCORDINGLY, IT IS ORDERED that attorneys acting on behalf of UpRight Law

LLC and its affiliates are immediately prohibited from filing any document electronically signed




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by a client (i.e., using the /s/ notation for a signature). All documents UpRight Law LLC and its

affiliates file containing a client signature must have a scanned original signature. This order

applies to all bankruptcy cases filed by UpRight Law LLC and its affiliates in the Western District

of Louisiana.

       IT IS FURTHER ORDERED that every employment contract for debt relief services

between UpRight Law LLC and its clients must contain the original “wet” signatures of both the

client and the UpRight Law LLC attorney licensed in the Western District of Louisiana. The

attorney who executes that contract shall be designated as the attorney in charge of that case.

Further, UpRight Law LLC and its affiliates may not accept a retainer from any client before an

employment contract is executed. This order applies with respect to UpRight Law LLC and its

affiliates and any of their prospective clients residing in or anticipating filing bankruptcy in the

Western District of Louisiana.

       IT IS FURTHER ORDERED that every attorney affiliated with UpRight Law LLC and

its affiliates filing a pleading within the Western District of Louisiana on behalf of those entities

must contact the clerk of court and update their CM/ECF account or create a duplicate account so

that the docket in each case accurately reflects their firm’s name as UpRight Law LLC.

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